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        October 12, 2023

        The Honorable Nwamaka Anowi, Clerk of Court
        U.S. Court of Appeals for the Fourth Circuit
        1100 East Main Street, Suite 501
        Richmond, Virginia 23219

        Re:       Fain v. Crouch, No. 22-1927
                  Response to Defendants-Appellants’ Notice of Supplemental Authority
                  L.W. v. Skrmetti, Case No. 23-5600/Jane Doe 1 v. Thornbury, Case No. 23-
                  5609, 2023 WL 6321688 (6th Cir. Sept. 28, 2023)

        Dear Clerk Anowi:

                  Plaintiffs-Appellees respectfully respond to Defendants-Appellants’

        (“Defendants”) letter regarding L.W. v. Skrmetti, Case No. 23-5600/Jane Doe 1 v.

        Thornbury, Case No. 23-5609, 2023 WL 6321688 (6th Cir. Sept. 28, 2023), which

        should not persuade this Court:

                  1.         Defendants cite L.W. for the premise that “deferential review applies

        to laws premised on classifications based on medical condition,” including “gender

        dysphoria.” This misses the mark. First, unlike other facially neutral medical

        condition regulations, the exclusion here explicitly bans coverage for “sex change”

        and “transsexual” surgery, which are explicitly sex- and transgender status-based

        purposes. JA943. The command of United States v. Virginia, 518 U.S. 515


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        (1996), and its progeny is that all sex-based classifications must receive heightened

        scrutiny. See Peltier v. Charter Day Sch., Inc., 37 F.4th 104, 124 (4th Cir. 2022).

        Additionally, a panel of this Court correctly found as a matter of constitutional

        avoidance that discrimination based on gender dysphoria is a proxy for transgender

        status discrimination. Williams v. Kincaid, 45 F.4th 759, 772 (4th Cir. 2022).

              2.     L.W. profoundly misreads Dobbs v. Jackson Women’s Health Org.,

        142 S. Ct. 2228 (2022). Dobbs instructs that a complete ban on a procedure does

        not constitute sex discrimination, even if only “one sex” is affected. 142 S. Ct. at

        2245. In stark contrast, here all parties agree that the relevant procedures are

        covered for cisgender people, JA304, and are excluded only when affirming a sex

        different from that assigned at birth, constituting discrimination based on sex and

        transgender status.

              3.     Finally, administering surgery for “different diagnoses” or “different

        results” supplies no relevant difference, but simply points back to the

        discriminatory classification. ECF No. 106 at 1-2. Unrebutted expert testimony

        establishes that the surgical procedures at issue are materially the same. JA701-

        703. And discrimination based on the diagnosis of gender dysphoria explicitly

        classifies based on sex. One cannot describe the diagnosis—or even say it—

        without referencing sex. The same is true for seeking “different results”: if the
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        care is sought for the “result” of confirming a sex different from the one assigned

        at birth, it is denied. That is sex discrimination.

                                                 Best regards,




                                                 Tara L. Borelli
                                                 Senior Counsel

        CC: All Counsel of Record, served via CM/ECF.
